                       UNITED STATES DISTRICT COURT                   ~
                FOR THE EASTERN DIS~RICT OF NORTH CAROLIN~ J(/_,y       ~b
                            SOUTHERN DIVISION          ~.... f.f~~'9 J>
                                                                                   c'.>1.1~                   ().d
                                                                                                      ~          ~
HELEN C. CASHWELL, Trustee;

BRAD R.'JOHNSON;

ELCI WIJAYANINGSIH;
                                             }
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                                             }


                                             }
                                             }       File No. •_____
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                      Plaintiffs,            }
                                             }
       v.                                    }       Original Complaint
                                             }       under
                                             }       42 u.s.c. § 1983
TOWN OF OAK ISLAND,                          }
NORTH CAROLINA;                              }
DAVID KELLY, in his individual               }
Capacity;                                    }
DAVID HATTEN, in.his individual              }
Capacity;                                    }
KATIE COLEMAN, in her individual             }       Jury Trial Demanded
Capacity;                                    }
                                             }       Verification
                      Defendants.            }

                               ORIGINAL COMPLAINT AND
                                DEMAND FOR JURY TRIAL

       Plaintiffs [Ms. Helen C. Cashwell, Trustee (hereinafter referred to as Plaintiff       !
                                                                                              I
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CASHWELL); Dr. Brad R. Johnson (hereinafter referred to as Plaintiff JOHNSON);i and Ms.       I



Elci Wijayaningsih (hereinafter referred to as PlaintiffWIJAYANINGSIH)],        individ~ally and
                                                                                              i
as representative of a class of undeveloped parcel owners within the Sewer Treatment JDistrict of
       .                                                                                      i           .
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the Town,of Oak Island, North Carolina (N.C.) for property tax years 2015-2017, compla~n

against Defendants [Town of Oak Island, N.C. (hereinafter referred to as Entity Defen         lian)
                                                                                              1

TOWN); ·Mr. David Kelly (hereinafter referred to as Defendant KELLY); Mr. DavidlHaien
                                                                                              I        I



(hereinafter referred to as Defendant HATTEN); and Ms. Katie Coleman (hereinafterireferred to




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as Defendant COLEMAN)] and allege on knowledge, with respect to themselves and the~r own
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conduct, and upon the basis of information and belief, as to all other matters, as follows.

                                NATURE OF THE ACTION
                        CIVIL RIGHTS ACTION UNDER 42 U.S.C. 1983

1. This action arises out of schemes and artifices executed by Defendants KELLY, HATTEN

   and COLEMAN (hereinafter collectively.known as the Individual Town Defendants) -

   under color of entity Defendant TOWN law to unlawfully deprive the class of undeveloped

   parcel owners within the Sewer Treatment District of the Town of Oak Island, NC, for:

   property tax years 2015-2017, including Plaintiffs CASHWELL, JOHNSON and

   WIJAYANINGSIH (hereinafter collectively known as the Individual Plaintiffs), of their

   civil rights guaranteed by the U.S. Constitution. Specifically, Counts One of this Complaint

   is a civil rights claim for money damages and declaratory and permanent injunctive relief

   under the United States Constitution, particularly pursuant to the provisions of the Fifth and

   Fourteenth Amendments to the Constitution of the United States, and under federal law,
                                                                                              !
   particularly pursuant to Title 42 of the United States Code, Section 1983 and Title 28 of the

   United States Code, Sections 2201 and 2202, brought by each of the Individual Plaintiffs,

   individually and as representative of the class of undeveloped parcel owners within the

   Sewer Treatment District of the Town of Oak Island, N.C., against:

   (a) ea9h of the Individual Town Defendants for money damages (actual and punitive),

   (b) Entity Defendant TOWN for actual damages and

   (c) Entity Defendant TOWN to permanently enjoin said Defendant from prospectiveli

          levying the recurring, annual Sewer Treatment District Feeffax [a benefits-b+d tax

           established under Entity Defendant TOWN law pursuant to S.L. 2004-96 (as '

           amended by S.L. 2006-54) for the "availability of sewer service within the district"]



                                                 2
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       against the class of undeveloped pkcel owners within the Sewer Treatment District of

       the Town of Oak Island, N.C.,

in that the Sewer Treatment District Fee/Tax [a benefits-based tax established under Entity

Defendant TOWN law pursuant to S.L. 2~04-96 (as amended by S.L. 2006-54) for the

"availability of sewer service within the district"] as applied by the Individual Town

Defendants to the class of undeveloped parcel owners, including each of the Individual
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Plaintiffs, for property tax years 2015-20~ 7, is confiscatory in nature and thereby a
                                            '                                            I

regulatory taking of property without just compensation in violation of the Fifth (throJgh the

Substantive Due Process Clause of the Fourteenth) Amendment to the U.S. Constitution,

becau~e,   for property tax years 2015-2017, sewer treatment services, in the present tense,

were not available to undeveloped parcels within the Sewer Treatment District, i.e., for

property tax years 2015-2017, sewer treatment services, in the present tense, could not and

did not provide a special benefit to owners of undeveloped parcels within the Sewer

Treatment District. Count Two of this Complaint is a civil rights claim for money damages

and declaratory and permanent injunctive relief under the United States Constitution,
   ~




particularly pursuant to the Equal ProtectiOn Clause of the Fourteenth Amendment to the

Constitution of the United States, and under federal law, particularly pursuant to Title 42 of

the United States Code, Section 1983 and Title 28 of the United States Code, Sections 2201

and 2~02, brought by each of the Individual Plaintiffs, individually and as representative of

the class of undeveloped parcel owners within the Sewer Treatment District of the To~ of

Oak Island, N.C., against:

(a) th6 Individual Town Defendants for money damages (actual and punitive),

(b) Entity Defendant TOWN for actual damages and




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(c) Entity Defendant TOWN to permanently enjoin said Defendant from prospectively

     levying a recurring, annual Sewer Treatment District Fee/Tax [a benefits-based tax

     established under Entity Defendant TOWN law pursuant to S.L. 2004-96 (as amended by

     S.L. 2006-54) for the "availability of sewer service within the district"] against both
           '                                  '


     developed and undeveloped parcel owners within the Sewer Treatment District of the

     Town of Oak Island, N.C. (hereinafter; "Sewer Treatment District"), where Entity

     D~fendant      TOWN simultaneously iss~es a credit to the private owners of developed

     parcels in the amount of the Sewer Treatment District Fee/Tax on each year's property

     tax statement,

in that, in executing Entity Defendant TOWN law pursuant to S.L. 2004-96 (as amended by

S.L. 2006-54) for property tax years 2015-2017, each of the Individual Town Defendants
                                             '
intentionally and purposefully conspired t9 establish (and, in fact, established) a tax

classification scheme, based upon a tax P8;1'Cel' s status as developed or undeveloped [where

the Individual Town Defendants initially levied a recurring, annual Sewer Treatment

District Fee/Tax of $803.82 against both developed and undeveloped parcel owners within

the Sewer Treatment District, but where said Defendants simultaneously issued a credit in the

amount of the recurring, annual Sewer Treatment District Fee/Tax of $803.82 to private

owners of developed parcels on each year's property tax statement because undeveloped

parcel:owners paid less in prior years], that facially and impermissibly (as applied) deprived

each owner of an undeveloped parcel, including each of the Individual Plaintiffs, of Equal
       '
Protec#on of the law, in violation of the E.qual Protection Clause, U.S. Const. amend. !XIV,§

1.




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                                           PARTIES

2. Helen C Cashwell, Trustee. At all times relevant to the allegations in this Complaint,

    Plaintiff CASHWELL resided at 3407 E. Yacht Drive, Oak Island, NC 28465. Plaintiff

    CASHWELL is retired and is a former m~yor of Entity Defendant TOWN. Finally, for

    property tax years 2015-2017, Plaintiff CASHWELL owned an undeveloped parcel (ID
                                    \
    235KL033) and a developed parcel (ID 235KI029) within the Sewer Treatment District of

    Entity Defendant TOWN.

3. Brad R. Johnson, Ph.D., J.D., CPA (lna,ctive, OR, #4278). At all times relevant to the

    allegations in this Complaint, Plaintiff JOHNSON resided at 111 SE 14th Street, Oak Island,

   NC 28465.
       '
             Professionally, at all times relevant
                                             :
                                                   to the allegations in this Complaint, Plaintiff

   JOHNSON was (and is) employed by the: State of South Carolina as a tenured Associate

   Professor of Accounting (and Accounting :Program Coordinator) at Francis Marion

   Univefsity (FMU) with his principal place of business at 260 Founders Hall in the School of

   Business, Francis Marion University, Box: 100547, Florence, SC 29502, telephone number

   (843) 661-1427. Specifically, Brad R. Johnson, Ph.D., J.D., C.P.A. (Inactive, OR, #4278) (a)

   has been teaching Federal Taxation at the University Graduate and Undergraduate levels for

   over 35 years and (b) has been a licensed (active or inactive) C.P.A. for over 35 years.

   Finally, for property tax years 2015-2017, Plaintiff JOHNSON owned an undeveloped

   parcel (ID 2360F019) and a developed parcel (ID 250CF009) within the Sewer Treatment

   District of Entity Defendant TOWN.
                                                                                              I
4. Elci Wijayaningsih. At all times relevant'to the allegations in this Complaint, Plaintiff

   WIJAYANINGSIH resi,ded at 111 SE 14th Street, Oak Island, NC 28465. Also, for Jroperty

   tax years 2015-2017, PlaintiffWIJAYANINGSIH owned an undeveloped parcel (ID




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                                               '
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   2360F019) and a developed parcel (ID 250CF009) within the Sewer Treatment District of

   Entity Defendant TOWN.

5. Town of Oak Island. Entity Defendant TOWN, acting through its agents (including each of

   the Individual Town Defendants) was (and is) at all times mentioned herein, a

   governmental subdivision of the State of North Carolina, with its principal place of business

   at 4601 East Oak island Drive in Oak Island, NC 28465, where entity Defendant TOWN has

   appointed the following person as its   auth~rized   agent to accept service of process: Mr.

   David Kelly, Town Manager; 4601 East Oak Island Drive, Oak Island, NC 28465, tel. (910)

   201-8002.

6. David Kelly. Defendant KELLY is being sued in his individual, personal capacity and not in

   his official capacity as an employee/agent of Entity Defendant TOWN. However, Defendant

   KELLY was (and is) at all times mentioned herein, the Town Manager of Entity Defendant

   TOwN with his principal place ofbusine~s located at 4601 East Oak Island Drive in Oak

   Island, NC 28465, tel. (910) 201-8002.

7. David Hatten. Defendant HATTEN is being sued in his individual, personal capacity and

   not in his official capacity as an employee/agent of Entity Defendant TOWN. However,

   Defendant HATTEN was (and is) at all times mentioned herein, the Finance :Director of

   Entity Defendant TOWN with his principal place of business located at 4601 East Oak

   Island Drive in Oak Island, NC 28465, tel. (910) 201-8016.

8. Katie, Coleman. Defendant COLEMAN is being sued in her individual, personal cagacity

   and not in her official capacity as an employee/agent of Entity Defendant TOWN. Hjwever,

   Defendant COLEMAN was (and is) at all times mentioned herein, the Tax Collector of
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   Entity Defendant TOWN with her principal place of business located at 4601 East Oak

   Island Drive in Oak Island, NC 28465, tel. (910) 201-8013.

                                 FACTUAL BASIS FOR CLAIM

ENTITY DEFENDANT TOWN

9. Entity Defendant TOWN is a Governmental Agency. Entity Defendant TOWN is a

   municipal corporation that was duly created and chartered by the N.C. General Assembly for
            ,                                    I                                              I

   administrative purposes, where the N.C. General Assembly retains control and supervision

   over Entity Defendant TOWN as a municipal corporation. Entity Defendant TOWN has

   only those powers expressly granted by le.gislative enactment and those powers implied

  therefrom. The N.C. General Assembly enacts general laws and local acts. A general law

   applies to all units of local government. A local act applies to a limited number of

  municipalities. In particular, the N.C. General Assembly may enact local legislation, where
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  particular powers are conferred upon a unit oflocal government, e.g., Entity Defendant

  TOWN. Within this context, the N.C. General Assembly must declare the policy of the law,

  fix legal principles which are to control in given cases, and provide adequate standards for

  the guidance of the local government (e.g., Entity Defendant TOWN) empowered to execute

  the law. Thus, while the N.C. General Assembly may delegate the power to find facts or

  determine the existence or nonexistence of a factual situation or condition on which the

  operation of a law is made to depend, it cannot vest in the local government (e.g., Entity

  Defendant TOWN) the power to apply or withhold the application of the law in its        a~solute
        ,                                                                                  II
  or unguided discretion. Finally, if there is reasonable doubt with regard to the existence of
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  such power in a particular instance, such doubt must be resolved against the unit of lqcal

  government (e.g., p:ntity Defendant TOWN), where said power is denied.




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                                                 ,                                               I
10. Entity Defendant TOWN has no Inherent Power of Taxation. In particular,: Entity
                                                 I
   Defendant TOWN has no inherent power of taxation. Accordingly, all power of taxation,

   including local assessments (i.e., benefits-:based taxes), must be derived by Entity Defendant

   TOWN from legislative enactment. F~ermore, all power of taxation derived by Entity
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   Defendant TOWN from legislative      enact~ent        is subject to further restriction and regulation

   by legislative enactment. Because Entityi Defendant TOWN derives its power of t.axation
                                                 !
   from the legislature, it cannot argue that/ certain enabling legislation is lacking in breadth.
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   Specifically, the N.C. General Assembly has the power to control the finances of Entity

   Defendant TOWN in terms of the nature and amount of particular revenue appropriations.

ENTITY DEFENDANT TOWN CONSTRUCTED ITS SEWER SYSTEM,
WHICH }VAS FINANCED, IN PART, BY !A
ONE-Tll\'.IE BENEFITS-BASED TAX (I.E;, SEWER ASSESSMENT)
                                             I

11 ..Construction of the Sewer System was Financed, in Part, by Sewer Assessments Paid by

   Owners of All Benefitted Parcels, including Parcels within the Boundaries of the Sewer

   Treatment District. The N.C. General Assembly has enacted general laws [North Carolina

   General Statutes (NCGS) 160A-216 through 160A-239] allowing municipalities, including
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   Entity Defendant TOWN, to levy a one-rime benefits-based tax (i.e., sewer assessment) on

   parcel owners receiving a special benefit of potentially increasing parcel values resulting

   from the construction of a sewer system. Pursuant to this general law, Entity Defendant

   TOWN financed, in part, the construction of its sewer system by levying and coll~cting a
          '                                  '                                                   i
                                             '                                                   I
   one-time sewer assessment (i.e., a tax for a local benefit of potentially increasing parcel

   values'. resulting from the construction of the sewer system) in the amount of $4200 pJ parcel

   from   ~enefitted parcel owners, including those developed and undeveloped parcel lowners
   within: the boundaries of the Sewer Treatment District.




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ENTITY DEFENDANT TOWN CONSTRVCTED AND OPERATED
ITS SEWER SYSTEM, WHICH WAS FINANCED,
                                    I
                                      IN PART, BY A
RECURRING, ANNUAL BENEFITS-BASED TAX
(I.E., THE SEWER DISTRICT FEE/TAX)'.

12. The N.C. General Assembly has Authority to Pass Enabling Local Legislation,

  authorizing a Municipality to Establish a Special District and to Levy a             Benefit~-Based
        '                                          !                                          '
  Tax for a Special Benefit. The N.C. General
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                                              Assembly has authority to pass enabling
                                                                                   .
                                                                                      local
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  legislation, wherein a local unit (e.g., Entity Defendant TOWN) may establish a, special

  district (e.g., Sewer Treatment District), within which particular services are provided (e.g.,

  sewer treatment services), where such e11-abling legislation delineates the powers, authority

  and responsibilities of the municipality with regard to such district, including the authority to
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  impose local assessments (i.e., a benefits;-based tax). Within this context, local assessments

  are a class of taxes that are imposed only upon those owners of parcels who in respect to such

  ownership are to derive a special benefit. Such a benefits-based tax is not levied and

  collected as a contribution to the maint~nance of the general government, but, instead, is

  made a charge upon parcels upon which are conferred benefits entirely different from those

  received by the general public. In other words, local assessments are imposed by a local unit

  upon a limited class of parcel owners in return for a special benefit: These assessments are

  not imposed upon the citizens in common at regularly recurring periods for the purpose of
                                               '
  providing continuous revenue, but,        ins~ead,       are imposed upon a limited class of parcel
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  owners in return for a special benefit.




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         '                                        I
13. In S..L. 2004-96 (as Amended by S.L. 2Q06-54), the N.C. General Assembly Authorized
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   Entity Defendant Town to Establish a Special District and to Levy a Benefits-Based Tax

   upon Owners of Benefitted Parcels. As an example of local legislation, in S.L. 2004-96, the

   N.C. General Assembly enacted a local act to allow the Town of Holden Beach (and later the
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   Town of Oak Island, pursuant to S.L. 2006-54):
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   (a) to create a "fee supported sewer treatment district" [hereinafter "Sewer Treatment

      District"] "to pay the debt service for the sewer system" as well as "sewer serv~ces   I




      provided by the county" and

   (b) to impose an annual fee [hereinafter "Sewer Treatment District Fee/Tax"] for the
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      "availability of sewer service within:the district" upon "owners of each dwelling unit

      or parcel of property," within the boundaries of the Sewer Treatment District, that

      "could or does benefit from the availability of sewage treatment,"

   (c) with a purpose to provide the Town wlth an additional, non-operating revenue source (the

      recurring, annual Sewer Treatment Di~trict Fee/Tax) "to pay the debt service for the
                                              !
      sewer system" as well as contemporaneous "sewer services provided by the county."

      See Exhibit I - S.L. 2004-96, incorporated by reference herein, a true and correct copy.

      The Sewer Treatment District Fee/Ta~ "shall be collected in the same manner as

      provided for in the General Statutes for the collection of ad valorem taxes." Id Also,

      remedies available by statute for the collection of taxes shall apply to the collectior of the

      se~er [treatment] district fees." Id Specifically, S.L. 2004-96 provides as follows]




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         "S~CTION 1. Fee-Supported District'. - A municipality may create a fee-support~d
         sewer treatment district for all parcels that are or can be served by the sewage
         collection and treatment plant servi~g parcels within the Town.
         SECTION 2. Creation of Fee-Supported District. -The Town may adopt a resolution
         establishing a fee-supported sewer treatment district.
         SECTION 3. Imposition of Annual Fees. - The Town may impose annual fees for the
         availability of sewer service within tJle district. The Board shall set same on or l?efore
         July 1 each year.                        :
         SECTION 4. Fees. -The fees impose,a by the municipality may not exceed the cost of
         pr<?viding the sewer collection facility :within the municipality and the cost of the contract
         wirh a county to provide it with the fa~ilities to transport, treat, and dispose of the
         mlinicipality's effluent. Said fees shall be imposed on owners of each dwelling unit or
         parcel of parcel that could or does bertefit from the availability of sewage treatment.
         SECTION 5. Billing of Fees. -The n)unicipality may include a fee imposed under
         this section on the parcel tax bill for'. each parcel ofparcel lying within the municipal
         limits on which the fee is imposed. Said fee shall be collected in the same manner as
         provided for in the General Statutes for the collection of ad valorem taxes, and remedies
         available by statute for the collection of taxes shall apply to the collection of the sewer
         district fees.
         SECTION 6. Use of Fees. -The Town shall credit the fees collected within the
         district to a separate fund to be used only to pay the debt service for the sewer
         system. The governing board of the municipality shall administer the fund to provide for
         the payment of said sewer services provided by the county... " Bold and italics added.
         Exhibit I - S.L. 2004-96.             .

14. For property tax year 2009, Entity Defendant TOWN initially executes S.L. 2004-96 (as

   amended by S.L. 2006-54) by Establishing a Sewer Treatment District and Levying a

   Sewer: District Treatment Fee/Tax. On June 25, 2009:

   (a)              to avoid a suggested increase· in sewer user charges of 15% for FY 2010, as

         suggested by the Raftelis Financial Feasibility Study (to ensure meeting debt service and

         the operati~n/maintenance requirements, for the sewer system), and

   (b)              to better equalize costs between developed parcels (where customers wh~

         contract with E:µtity Defendant TOWN pay utility system costs through rates) and

         unCleveloped parcels (where the contribution to utility system costs by undevelopetl
           :                                                                                   I

         parcel owners may be limited to the payment of the special one-time assessment);




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   Entity 'Defendant TOWN adopted a     resolu~ion establishing a Sewer Treatment District lnd
                                                                                             I
   levied a Sewer Treatment District Fee/Tax .of $146.15 for tax year 2009 upon all parcel

   owners within said District. But then, without any authority to do so, Entity Defendant

   TOWN refunded said 2009 Sewer Treatm~nt District Fee/Tax of $146.15 to developed 'parcel
                                              I




   owners (by issuing an equivalent credit to 1ach of them on their 2009 property tax statements)

   so that undeveloped parcel owners would begin to pay their fair share. See Exhibit II -
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                                              I'
   Selected Minutes of the Special Meeting tjfthe Oak Island Town Council on June 25, 2009,
                                              I


   incorporated by reference herein, a true arid correct copy, pp. 17-20.
                                              I

                                              I
15. For each of the Property Tax Years 2015-2017, Entity Defendant TOWN Continues to

   Execute S.L. 2004-96 (as amended by S.L. 2006-54) by Levying a Sewer District

   Treatment Fee/Tax and Issuing an Equ~valent Credit to Developed Parcel Owners.

   Similar to the resolution referenced above in para. #14, for each of the property tax years

   2015-~0l 7,   Entity Defendant TOWN adopted a resolution to levy a Sewer Treatment District

   Fee/Tax of$803.82 upon both developed and undeveloped parcel owners within the Sewer

   Treatment District for the "availability a/sewer services within the district." Owners of

   undeveloped parcels are similarly situated to owners of developed parcels in that both

   developed parcels and undeveloped parceis are located within the Sewer Treatment District

   of Entity Defendant TOWN. But then, without any authority to do so, Entity Defendant

   TOWN, by resolution, declared that "[u]s~rs of the Town's utility system will be credit~d" the

   amount of the Sewer Treatment District   F~e/Tax of $803.82 (not that "developed parcJ owners
   withiri the Sewer Treatment District" will be credited the amount of the Sewer Treatmet

   Distri~t Feeffax of$ 803. 82 on each year's property tax statement). See Exlnbit ill - To~ of
   Oak Island Fee Schedule, Effective July 1, 2017, incorporated by reference herein, a true and




                                                   12
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   correct copy. Within this context, "[u]sers of the Town's utility system" contract with Entity

   Defendant TOWN for services to be provided. At no time during the property tax years 2015

   -2017, were the set of persons known as "[u]sers of the Town's utility system" the same as

   the set of persons known as "developed parcel owners within the Sewer Treatment Di~trict."
                                                                                             I

   To demonstrate this incongruence: Plaintiffs, JOHNSON and WIJAYANINGSIH, are the

   developed parcel owners of Parcel #250CF009, located within the Sewer Treatment District

   at 417 Keziah Street. Plaintiffs, JOHNSON and WIJAYANINGSIH, have rented that

   developed parcel to Christopher J. Joyce ~uring property tax years 2015 - 2017. In this

   instance, Christopher J. Joyce is the "[u]ser of the Town's utility system" and pays the sewer

   user charges of Entity Defendant TOWN. Plaintiffs, JOHNSON and WIJAYANINGSIH,

   are the developed parcel owners, but are not the "[u]ser of the Town's utility system."

16. For Each of the Property Tax Years 2015-2017, Each of the Individual Town

   Defendants Established a Tax Classification Scheme, based upon a Tax Parcel's Status

   as Developed or Undevefoped, that Intentionally and Purposefully Discriminated

   against Undeveloped Parcel Owners. N<?twithstanding the foregoing, in executing Entity

   Defendant TOWN law pursuant to the S.L. 2004-96 (as amended by S.L. 2006-54), for each

   of the property tax years 2015-2017, each pf the Individual Town Defendants established a

   tax classification scheme, based upon a tax parcel's status as developed or undeveloped, that

   intentionally and purposefully discriminated against undeveloped parcel owners becau.se

   undev~loped parcel owners paid less in prior years [where the Individual Town Defendants

   initially levied a recurring, annual Sewer Treatment District Fee/Tax of $803 .82 agaiJt both
         '                                                                                   I
         ,                                                                                   I
   developed and undeveloped parcel owners within the Sewer Treatment District, but w~ere

   said Defendants simultaneously issued an equivalent credit in the amount of the recurring,




                                               13
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                                                                                             I
annual Sewer Treatment District Fee/Tax of $803.82 to private owners of developed pb-cels

on each year's property tax statement]. Sp~cifically, for each of the property tax years 2015-

2017, even though Plaintiffs, JOHNSON and WIJAYANINGSIH, could not be liable for
                                             '
the sewer,user charges of Entity Defendant TOWN, the Individual Town Defendants
                                             '                                               I
                                                                                             I


refunded the Sewer Treatment District Fe~/Tax of $803.82 that Plaintiffs, JOHNSON and

WIJAYANINGSIH, owed for each of those years as the developed parcel owners of Parcel
                                             I




ID 250CF009, solely because Christopher J. Joyce, as the contracting party and "[user] of the

Town's utility system," paid the sewer user· charges of Entity Defendant TOWN. See, e.g.,

Exhibit IV -2016 Property Tax Statement 0fEntity Defendant TOWN for Developed Parcel

ID 250CF009, incorporated by reference herein, a true and correct copy. In other words, as the

developed parcel owners in each of the property tax years 2015-2017, the Individual Town

Defendants simply gave Plaintiffs, JOHNSON and WIJAYANINGSIH, a gift of $803 .82

per year, in the form of a refunded Sewer Treatment District Fee/Tax, which was used by

Plaintiffs, JOHNSON and WIJAYANINGSIH, for personal purposes, solely because

Plaintiffs, JOHNSON and WIJAYANINGSIH, owned developed property within the Sewer

Treatment District. As a result, for the property tax years 2015-2017, Plaintiffs, JOHNSON

and W,JAYANINGSIH, as the owners o:E a developed parcel within the Sewer Treatment
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District, paid not one dollar of Sewer Treatment District Fee/Tax. Here, it is important to note

the fact that, for each of the property tax years 2015-2017, Christopher J. Joyce, as the ';' [user]

of the Town's utility system" was not-given any credit by the Individual Town Defenkants
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(which otherwise would have been discriminatory), even though Entity Defendant TOWN
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declared by resolution: "Users of the Town:s utility system will be credited $803.82."




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                                             ,                                             I
17. For Property Tax Years 2015-2017; En~ity Defendant TOWN never Records the ~ewer
                                                                                           I




   Treatment District Fee/Tax Revenue Associated with Levies of Said Tax against

   Developed Property Owners. With respect to developed parcels within the Sewer
                                             I


   Treatment District, for each of the property tax years 2015-2017, the initial charge for!Sewer

   Treatment District Fee/Tax of $803.82 on each developed parcel's property tax statement

   was never recorded in the books and records of Entity Defendant TOWN. In general, fund

   revenue from a levy of property tax is recognized by an increase (credit) to a fund account.

   However, for each of the property tax years 2015-2017, Sewer Treatment District Fee/Tax

   revenue is recognized from levies of Sewer Treatment District Fee/Tax against undeveloped

   parcel owners only. Sewer Treatment District Fee/Tax revenue is not recognized for the

   initial levy of Sewer Treatment District Fee/Tax charged against developed parcel owners,

   which is allowed under the modified accrual basis of accounting (with a current resources

   measurement focus), but only if Entity Defendant TOWN never intends to collect the Sewer

   Treatment District Fee/Tax from said developed parcel owners. Within this context, for each

   of the property tax years 2015-2017, Entity Defendant TOWN did employ the modified

   accrual basis of accounting (with a current resources measurement focus) in accounting for

   its enterprise funds, including the Sewer Treatment District Fee/Tax Fund. Under this

   method, revenues are recognized when measurable and available.

18. For Property Tax Years 2015-2017, Entity Defendant TOWN also never Records:the
         ,                                                                                 I
         I                                                                                 I



   Issua~ce of the Equivalent Credit (Refund) of Sewer Treatment District Fee/Tax to
   Developed Property Owners. Furthermore, with respect to developed parcels within be

   Sewer:Treatment District, for each of the property tax years 2015-2017, the refund
         :
                                                                                        (cr~dit)
   for Sewer Treatment District Fee/Tax of $803 .82 on each developed parcel's property tax




                                                 15
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                                                :                                               I
   statement was never recorded in the books and records of Entity Defendant TOWN. Here,
                                                                                                I
                                                 '                                              '
   there is no explanation for ignoring such~ credit. In particular, for each of the property tax

   years 2015-2017, Entity Defendant TOWN did not account for a portion of monthly            s~wer


   user fees paid by the customers to constitifte payments by developed parcel owners of :the
                                                i                                               !


   Sewer Treatment District Fee/Tax. A      dev~loped     parcel owner's payment of the Sewer

   Treatment District Fee/Tax (non-operating revenue) is different from a customer's payment

   of a sewer user fee (operating revenue). Proprietary fund operating revenues, such as charges

   for sewer services, result from exchange transactions associated with the principal activity of

   the fund. Exchange transactions   ~re   those ,in which each party receives and gives up

   essentially equal values. Sewer user fees ~e paid by customers in exchange for

   contemporaneous sewer treatment service~ received.

19. In Contrast to those Developed Parcel Owners, for Each of the Property Tax Years

   2015-2017, Each Member of the Class of Undeveloped Parcel Owners within the Sewer

   Treatment District Paid a Sewer Treatment District Fee/Tax of $803.82 for the              ~pecial


   Benefit of the "availability of sewer [treatment] service within the district,"

   Notwithstanding the Fact that Undeveloped Parcels do not Benefit from the Availability

   of Se~age Treatment Services. In contrast to those developed parcel owners within the

   Sewer Treatment District, who do not pay one dollar of Sewer Treatment District Fee/Tax,

                                                                                               I
   for e~h of the property tax years 2015-2017, each of the Individual Plaintiffs, as well as each

   member of the class of undeveloped parcel owners within the Sewer Treatment Distriet paid
                                                                                               I
   a Sewer Treatment District Fee/Tax of $803.82 for the special benefit of the "availability of

   sewedtreatment] service within the district." In effect, the class of undeveloped parJl
         .                                                                                     I

   owners within the Sewer Treatment District bear the entire burden of the Sewer Treatment




                                                     16
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District Fee/Tax. Specifically, for each of the property tax years 2015-2017, PlaintiffsJ

JOHNSON and WIJAYANINGSIH, pa~d a Sewer Treatment District Fee/Tax of$803.82

with respect to undeveloped Parcel ID 2360F019. See, e.g., Exhibit V -2016 Property Tax

Statement of Entity Defendant TOWN fm Undeveloped Parcel ID 2360F019, incorpo,rated

by reference herein, a true and correct copy. Also, for each of the property tax ye~s 20~5-

2017, Plaintiff CASHWELL paid a Sewer Treatment District Fee/Tax of$803.82 with

respe~t to undeveloped Parcel (ID 235KL033). However, for each of the property tax years

2015-2017, sewer treatment services, in the present tense, were not available to undeveloped

parcels, i.e., for property tax years 2015-2017, sewer treatment services, in the present tense,

could not and did not provide a special benefit to undeveloped parcels. That is, undeveloped

parcels within the Sewer Treatment District could not and did not benefit from the

availability of sewage treatment services because undeveloped parcels had no improvements,
      '

no building permit, no connection to either water lines or sewer lines, and no guaranteed

right to connect. In particular, Plaintiffs, JOHNSON and WIJAYANINGSIH, cannot

improve (develop) their undeveloped Parcel (ID 2360F019) without the granting by Entity

Defen,dant TOWN of a building permit. Such a process requires Entity Defendant TOWN

approval of a sewer hookup application and the payment of various development fees. For a

four (4) bedroom, three (3) bath, 2,000 square-foot home with one living area, these fees include

(a) a water (wastewater) tap fee of $830 ($5,500); (b) a water (wastewater) infrastructure
                                                                                           !




and a )>uilding permit fee of$! ,000 + $.36 X 800 square-feet (the excess of 2,000 total   f
reimblirsement fee of$592 ($2,620 + $1500 for each additional habitable room in excess of 4);



feet over 1,200 square-feet), for a total of$12,330. For an undeveloped parcel (e.g., Parpel ID
                                                                                               uare-



2360F019) to receive the special benefit of the "availability ofsewer [treatment] service,"




                                              17
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                                                                                           I
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                                                                                           I
   Entity· Defendant TOWN must furnish su9h parcel with some level of sewer or drainage
                                              '                                            I
                                                                                           I
                                                                                           I

   service.and/or facilities, where such level requires more than an uncertain opportunity'for an

   unimproved parcel to connect to the sewer system, especially in this case, where said

   undeveloped parcel owners have no right or duty to connect. Accordingly, in this case~ the
                                                                                           I



   improvement of an undeveloped parcel (e.g., Parcel ID 2360F019) is a condition precedent to

   the "availability ofsewer [treatment] service" with respect to said parcel.

20. On September 18, 2017, Plaintiff JOHNSON Served a Demand Letter upon Entity

   Defendant TOWN. On September 18, 2017, on behalf of himself and as "representative of

   that class, consisting of all owners of unimproved lots in the Town of Oak Island, who were

   required to pay Sewer District Fees/Taxes to the Town of Oak Island in the tax years 2014,

   2015, 2016, and 2017, when these fees/taxes were subject to a 100% tax credit on developed

   properties," Plaintiff JOHNSON demande~ that Entity Defendant TOWN refund the

   unconstitutional tax exacted from undeveloped parcel owners within the Sewer Treatment

   District. See Exhibit IV - Demand Letter dated September 18, 2017. To date, no response

   has been received from Entity Defendant TOWN.




                                                  18
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                                                                                               I
                                  COUNT ONE:                   I
          IU:GULATORY TAKING OF PROPERTY WITHOUT JUST COMPENslTION
                           IN VIOLATION OF THE FIFTH
              (THROUGH THE SUBSTANTIVE DUE PROCESS CLAUSE OF THE
                FOURTEENTH) AMENDMENT TO THE U.S. CONSTITUTION

21. Counts One of this Complaint is a civil rights claim for money damages and declaratory and

   permanent injunctive relief under the United States Constitution, particularly pursuant to the
                                                                                               '
   provisions of the Fifth and Fourteenth Amendments to the Constitution of the United States,

   and under federal law, particularly pursuant to Title 42 of the United States Code, Section

   1983 and Title 28 of the United States Code, Sections 2201 and 2202, brought by each of the

   Individual Plaintiffs, individually and as representative of the class of undeveloped parcel

   owners within the Sewer Treatment Distrfot of the Town of Oak Island, NC, against:
                                                            ~




   (a) each of the Individual Town Defendants for money damages (actual and punitive),

   (b) Entity Defendant TOWN for actual damages and

   (c)   E~tity   Defendant TOWN to permanently enjoin said Defendant from prospectively

         levying the recurring, annual Sewer Treatment District Fee/Tax [a benefits-based tax

         established under Entity Defendant TOWN law pursuant to S.L. 2004-96 (as amended by

         S.L. 2006-54) for the "availability of sewer service within the district"] against the class
                                                 1




         of undeveloped parcel owners within the Sewer Treatment District of the Town of Oak

         Isl;md, N.C.,

   in that:the Sewer Treatment District Fee/Tax [a benefits-based tax established under Entity
           I

   Defendant TOWN law pursuant to S.L. 2004-96 (as amended by S.L. 2006-54) for the
                                                                                               I
   "avail~bility of sewer service within the district"] as applied by the Individual Town      J

           '                                                                                   I


   Defendants to the class of undeveloped parcel owners, including each of the Individ~al
                                                                                               I
                                                                                               I
   Plaintiffs, for l?roperty tax years 2015-2017, is confiscatory in nature and thereby a




                                                     19
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    regulatory taking of property without just compensation in violation of the Fifth (throlgh the ·

    Substantive Due Process Clause of the   Fo~rteenth) Amendment to the U.S. Constitutiln,
    because, for property tax years 2015-2017, sewer treatment services, in the present tense,
                                                                                              I
    were not available to undeveloped parcels· within the Sewer Treatment District, i.e., forI
                                                                                              I



    property tax years 2015-2017, sewer treatment services, in the present tense, could not and

    did not provide a special benefit to owners of undeveloped parcels within the Sewer

    Treatment District.

22. Each of the Individual Plaintiffs repeats and re-alleges each of the allegations contained in

   paragraphs 2 through 20 as if fully set fortp. herein.

23. Jurisdiction, Venue and Standing. This     ~ourt     has Federal Question Jurisdiction by reason

   of Title 28, United States Code, Sections 1343(3) and 2201 and 2202. Also, this Court has
                                               1




   Federal Question Jurisdiction by reason of Title 28, United States Code, Section 1331.

   Furthermore, venue is proper in this Court under Title 28, United States Code, Section

    1391(b). Finally, under the facts in the instant case for property tax years 2015-2017, the

   Individual Town Defendants have subjected each of the Individual Plaintiffs (or caused

   each of the Individual Plaintiffs to be subjected) to the deprivation of his/her U.S.

   Constitutional Guarantee to be free from a regulatory taking of property without just

   compensation. As a result, each of the Individual Plaintiffs has standing to bring this claim
                                                                                              I




   for money damages and equitable relief.      :
                                                                                              I
    Deprivation of the U.S. Constitutional Guarantee of each of the Individual Plaintiffs
       to ~e Free from a Regulatory Taking of Property without Just Compensation, I
     Flow,ing from the Fifth Amendment (through the Substantive Due Process Clau~e
          :        of the Fqurteenth Amendment) to the U.S. Constitution              I
                                                                                              I


24. Under the facts of the instant case, for each of the property tax years 2015-2017, just '

   compensation (i.e., a special benefit), flowing from the Fifth Amendment (through the



                                                    20
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   Substantive Due Process Clause of the Fourteenth Amendment) to the U.S. Constitution, was
                                              :                                              I
   required when Entity Defendant TOWN law established a benefits-based tax (i.e., an annual

   Sewer Treatment District Fee/Tax) pursuant to S.L. 2004-96 (as amended by S.L. 2006-54)

   for the "availability of sewer service within the district," which was to be levied against the
                                              '                                              I

   class of undeveloped parcel owners, including each of the Individual Plaintiffs, within the

   Sewer Treatment District of the Town of Oak Island, N.C. That special benefit was the

   "availability of sewer service within the district," where the Sewer Treatment District

   Fee/Tax is justified and authorized by the "availability of sewer service within the district"

   and is unconstitutional and invalid without the "availability of sewer service within the

   district."

25. Under.the facts of the instant case, for each of the property tax years 2015-2017, sewer

   treatment services, in the present tense, were not available to undeveloped parcels within the

   Sewer Treatment District, i.e., for property tax years 2015-2017, sewer treatment services, in

   the present tense, could not and did not provide a special benefit to owners of undeveloped

   parcels within the Sewer Treatment District, including each of the Individual Plaintiffs.

   Accordingly, the Sewer Treatment District Fee/Tax [a benefits-based tax established under

   Entity Defendant TOWN law pursuant to S.L. 2004-96 (as amended by S.L. 2006-54) for the

   "availability of sewer service within the district"] as applied by the Individual Town

   Defendants to the class of undeveloped parcel owners, including each of the Individu'al
          .                                                                                  I
   Plaintiffs, for property tax years 2015-2017, is confiscatory in nature and thereby a     I

   regulatory taking of property without just compensation, in violation of the Fifth (thromgh the

   Substabtive Due Process Clause of the Fourteenth) Amendment to the U.S. Constitutidn.
          .                                                                                  I




                                                  21
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26. Fourteenth Amendment State Action. The acts alleged herein to have been done by the
                                               !                                                 '
                                               I


   Individual Town Defendants were done (a) with the power granted by Entity Defendant
                                               I




   TOWN and the State of North Carolina and (b) under the badge of or clothed in their

   authorlty as officers/employees/agents for;Entity Defendant TOWN and therefore co~stitute
                                                                                              I
   actions of the State within the meaning ofthe Fourteenth Amendment to the Constitution of

   the United States.

27. Color 'of State Law, Statute, Ordinance,; Regulation, Custom or Usage. The acts alleged

   herein to have been done by the Individual Town Defendants were done by them under

   color of state law, statute, ordinance, regulation, custom or usage.

28. Actual Controversy. There exists an actual controversy between the parties, as set forth

   herein:

29. Intent. The actions of the Individual To~n
                                             ,
                                               Defendants, as herein described, were
                                                                                 I


   intentional and willful (or grossly negligent and reckless), with the intent (or effect) of
                                               I

   depriving undeveloped parcel owners, including each of the Individual Plaintiffs, of the

   privileges and immunities secured to them: by the Constitution of the United States,

   particularly the right to be free from a regulatory taking of property without just

   compensation, flowing from the Fifth Amendment (through the Substantive Due Process

   Clause of the Fourteenth Amendment) to the U.S. Constitution.

30. Causation. The actions of the Individual !own Defendants, as herein described, were the

   actual ~d proximate cause of the deprivation of the right of undeveloped parcel owners,

   including each of the Individual Plaintiffs, to be free from a regulatory talcing   of.pro~erty
   without just compensation, secured by the Fifth Amendment (through the Substantive Due
         .                                                                                   I
   Process Clause of the Fourteenth Amendment) to the U.S. Constitution.




                                                   22
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                       Defendants' Continued Conduct and Chilling Effect
                                               :                                               I
                                               I

31. Each undeveloped parcel owner, including each of the Individual Plaintiffs, is suffering

   (and will continue to suffer in the future) irreparable injury because of the actions of the

   Individual Town Defendants. Such irrepfi.rable injury is sourced out of the continued:

   deprivation of each undeveloped parcel oWner, including each of the Individual Plaintiffs,

   of his/her right to be free from a regulatory taking of property without just compensation,

   secure.cl by the Fifth Amendment (through: the Substantive Due Process Clause of the ,

   Fourteenth Amendment) to the U.S. Constitution.

32. The actions of the Individual Town Defendants, as herein described, to deprive each

   undev~loped parcel owner, including each of the Individual Plaintiffs, ofhisfher right to be

   free from a regulatory taking of property ':Vithout just compensation, secured by the Fifth

   Amendment (through the Substantive Due Process Clause of the Fourteenth Amendment) to

   the U.S. Constitution will continue, where. a substantial loss or impairment of such right to be

   free from a regulatory taking of property without just compensation, has occurred and will

   continue to occur so long as the actions of the Individual Town Defendants continue.

33. The threat of a deprivation of the right of bach undeveloped parcel owner, including each of

   the Individual Plaintiffs, to be free from a regulatory taking of property without just

   compensation, secured by the Fifth Amendment (through the Substantive Due Process Clause
                                                               I


   of the Fourteenth Amendment) to the U.S. Constitution, continues, where each undeveloped

   parcel owner, including each of the Individual Plaintiffs, is in constant fear of receiving

   another tax statement for his/her undeveloped parcel within
         :                                    .
                                                                   ~he Sewer Treatment DisJict,I
   thereby further depriving each undeveloped parcel owner, including each of the Indivjdual

   Plaintiffs, of his/her right to be free from a regulatory taking of property without just




                                                   23
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   comp~nsation, secured by the Fifth Amendment (through the Substantive Due Process' Clause
                                                I                                            :


   of the Fourteenth Amendment) to the U.SJ Constitution.

34. No Plain, Adequate, and Complete Remedy. Each undeveloped parcel owner, including

   each of the Individual Plaintiffs, has no plain, adequate, and complete remedy to speydily

   redress the wrongs complained of other than this cause of action, where any other remedy to

   which said person could be remitted would be (a) attended by such uncertainties and ~elays

   as to deny said person substantial relief, involve a multitude of suits, and cause said p~rson

   further irreparable injury, damage and inconvenience and (b) inadequate to protect said

   person from the continuing actions of the Individual Town Defendants and the chilling

   effect that such actions have had on the U.S. Constitution Guarantees of said person.
                                                I

35. Injuries Proximately Caused. As a direct and proximate result of the actions of the

   Individual Town Defendants, as herein described, the undeveloped parcel owners,

   including each of the Individual Plaintiffs, have suffered injuries flowing from the

   deprivation of such persons' right to be fr~e from a regulatory taking of property without just

   compensation, secured by the Fifth Amen~ment (through the Substantive Due Process Clause

   of the Fourteenth Amendment) to the U.S.: Constitution, in an amount equal to $10,000,000

   of general and special damages.

36. Punitive Damages. The Individual Town Defendants' conduct, policies and practice,s and
                                                                                             I
   their effects, as described herein, demonstrate a specific intent to violate a knowable right of
          i                                                                                  !
   each uµdeveloped parcel owner, including each of the Individual Plaintiffs, where th~
          ,                                                                                  I
          ,                                                                                  I
   violation of such right is so clear at the time of deprivation that reasonably competent people
          :                                                                                  I
   would)'iave agreed that given the Individual Town Defendants' conduct, policies anq

   practices and their resulting effects, a violation of the constitutional rights of each




                                                    24
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                                                                                        I

undeveloped parcel owner, including each'. of the Individual Plaintiffs, would have o~curred.
                                                                                        I
Further, the acts of the Individual Town Defendants, as enumerated herein, were committed

with either (a) malice or (b) reckless indifference, thereby constituting willful or wanton

conduct and accordingly justify the awarding of exemplary or punitive damages in the
                                                                                        1




amount of $5,000,000 to deter similar or repetitious acts by said Defendants.




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                                               I

                                  COuNTTWO:
                     FACIAL AND IMPERMISSIBLE (AS APPLIED)
                DEPRIVATION OF EQUAL PROTECTION OF THE LAW,
                IN VIOLATION OF THE EQUAL PROTECTION CLAUSE,
                           U.S. CONST. AMEND. XIV, § 1

37. Count.Two of this Complaint is a civil rights claim for money damages and declaratory and

   permanent injunctive relief under the Unit~d States Constitution, particularly pursuant to the
                                               '

   Equal Protection Clause of the Fourteenth Amendment to the Constitution of the United

   States, and under federal law, particularly pursuant to Title 42 of the United States Code,
         '                                                                                   '


   Section 1983 and Title 28 of the United   St~1.tes   Code, Sections 2201 and 2202, brought by

   each of the Individual Plaintiffs, individually and as representative of the class of

   undeveloped parcel owners within the Sewer Treatment District of the Town of Oak Island,

   N.C., against:

   (a) the Individual Town Defendants for money damages (actual and punitive),

   (b) Entity Defendant TOWN for actual damages and

   (c) Entity Defendant TOWN to permanently enjoin said Defendant from prospectively

      levying a recurring, annual Sewer Treatment District Fee/Tax [a benefits-based tax

      established under Entity Defendant TOWN law pursuant to S.L. 2004-96 (as amended by

      S.L. 2006-54) for the "availability of sewer service within the district"] against both

     . developed and undeveloped parcel owners within the Sewer Treatment District of the

      To\vn of Oak Island, N.C. (hereinafter,. "Sewer Treatment District"), where Entity
         '                                                                                   :
                                                                                             I


      Defendant TOWN simultaneously issues a credit to the private owners of develop~d

      par¢els in the amount of the Sewer Treatment District Feefrax on each year's propk
         ,                                                                                   I
      tax; statement,




                                                   26
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    in that~ in executing Entity Defendant TOWN law pursuant to S.L. 2004-96 (as amended by
                                                 '                                              '


    S.L. 2006-54) for property tax years 2015-2017, each of the Individual Town Defend,ants
                                              '                          .
    intentionally and purposefully conspired to establish (and, in fact, established) a tax

    classification scheme, based upon a tax parcel's status as developed or undeveloped [where

   the Individual Town Defendants initially levied a recurring, annual Sewer Treatment

   District Fee/Tax of $803.82 against both developed and undeveloped parcel owners within

   the Sewer Treatment District, but where said Defendants simultaneously issued a cred't in the
                                                                                                I
   amount of the recurring, annual Sewer Treatment District Fee/Tax of $803.82 to private

   owners of developed parcels on each year's property tax statement because undeveloped

   parcel owners paid less in prior years], that facially and impermissibly (as applied) deprived

   each owner of an undeveloped parcel, including each of the Individual Plaintiffs, of Equal

   Protection of the law, in violation of the Equal Protection Clause, U.S. Const. amend. XIV,§

   1.

38. Each df the Individual Plaintiffs repeats and re-alleges each of the allegations contained in

   paragraphs 2 through 20 as if fully set forth herein.

39. Jurisdiction, Venue and Standing. This Court has Federal Question Jurisdiction by reason

   ofTitl~ 28, United States Code, Sections 1:343(3) and 2201and2202. Also, this Court has

   Federal Question Jurisdiction by reason of Title 28, United States Code, Section 1331.
                                                                                                I
   Furthermore, venue is proper in this Court under Title 28, United States Code, Section j
                                                                                                I
          I                                                                                     I
   1391(~).   Finally, under the facts in the instant case, for each of the property tax years 2f 15-
          1                                                                                     I
   2017, the Individual Town Defendants have subjected each owner of an undeveloped

   parcel,~including each of the Individual Plaintiffs (or caused said persons to be subje9\ed),
   to a deprivation of said person's U.S. Constitutional Guarantee of Equal Protection under the




                                                     27
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   Entity Defendant TOWN law levying a Sewer Treatment District Fee/Tax against parde1
            .                                   ,                                                  I
   owners within the Sewer Treatment District for the "availability of sewer service within the

   district." As a result, each owner of an undeveloped parcel within the Sewer Treatment

   Distridt, including each of the Individual Plaintiffs, has standing to bring this claim fii>rI




   money damages and equitable relief.

         Deprivation of the U.S. Constitutional Guarantee of Equal Protection of
       Each Owner of an Undeveloped Parcel within the Sewer Treatment District,
                Including each of the Indi:Vidual Plaintiffs, Flowing from
    The ~qual Protection Clause of the Fou'rteenth Amendment to the U.S. Constitution

40. Under the facts in the instant case, for proi;>erty tax years 2015-2017, owners of undeveloped

   parcels are similarly situated to owners of developed parcels, in that both developed parcels

   and undeveloped parcels are located within the Sewer Treatment District of Entity Defendant

   TOWN. Accordingly, in the establishmentI and exedution of Entity Defendant TOWN law

   pursuant to S.L. 2004-96 (as amended by     ~.L.      2006-54), for property tax years 2015-2017,
                                                ,                                              I

   and the resulting annual levy of a Sewer Treatment District Fee/Tax against parcel owners
           '                                                                                   '

   within the Sewer Treatment District for the "availability of sewer service within the district,"

   each owner of an undeveloped parcel within the Sewer Treatment District, including each of

   the Individual Plaintiffs, is guaranteed Equal Protection under such Entity Defendant

   TOWN law, which is secured by the Equal Protection Clause, U.S. Const. amend. XIV,§ 1.

41. Based upon the facts in the instant case, for each of the property tax years 2015-2017, :Entity
           ,                                    ,                                              I
   Defendant TOWN adopted a resolution to levy a Sewer Treatment District Fee/Tax of$803.82

   upon qoth developed and undeveloped par.eel owners within the Sewer Treatment DisJict for

   the   "a~ailability ofsewer services within the district." But then, without any authority Ldo
           .                                                                                   I
   so, Entity Defendant TOWN, by resolution, declared that "[u]sers of the Town's utilityisystem
                                                                                               I




   will be credited" the amount of the Sewer Treatment District Fee/Tax of $803.82 (not that



                                                    28
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"developed parcel owners within the Sewer Treatment District" will be credited the amqunt of
          '                                                                                 I



the Sewer Treatment District Fee/Tax of$803.82 on each year's property tax statement).

Furthermore, in executing Entity Defendant TOWN law pursuant to S.L. 2004-96 (as

amended by S.L. 2006-54) for each of the property tax years 2015-2017, each of the

Individual Town Defendants intentionally and purposefully conspired to establish (and, in

fact, e~tablished) a tax classification sche~e, ~ased upon a tax parcel's status as devel9ped or
                                               '                                            '
undeveloped [where the Individual Town, Defendants initially levied a recurring, fillI!.Ual

Sewer Treatment District Fee/Tax of $803.82 against both developed and undeveloped parcel

owners within the Sewer Treatment District, but where said Defendants simultaneously

issued a credit in the amount of the recurring, annual Sewer Treatment District Fee/Tax of

$803.82 to private owners of developed parcels on each year's property tax statement

(because undeveloped parcel owners paid .less in prior years)]. Such a tax classification

scheme facially and impermissibly (as applied) deprived each owner of an undeveloped

parcel.within the Sewer Treatment District, including each of the Individual Plaintiffs, of

Equal Protection of such Entity Defendant TOWN law, in violation of the Equal Protection

Clause, U.S. Const. ·amend. XIV,§ 1. Specifically, the law of Entity Defendant TOWN

facially discriminated against undevelop~d parcel owners within the Sewer Treatment
      I                                    .
District, including each of the Individual .Plaintiffs, in favor of developed parcel owners

withi~    the Sewer Treatment District. Furthermore, the law of Entity Defendant TOWN, as

applied to undeveloped parcel owners within the Sewer Treatment District, including bach of

theIn~ividual Plaintiffs, discriminated against those undeveloped parcel owners, inLuding
each jfthe Individual Plaintiffs, in favor of developed parcel owners within the Sew~r
      '                                                                                 I



Treatment District.




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42. As shown above in Count I, for each of th~ property tax years 2015-2017, the tax
                                                     I




   classification scheme of Entity Defendant:TOWN, which is based upon a tax parcel's 'status

   as developed or undeveloped, where the Individual Town Defendants issued a recurring,

   annual credit in the amount of the Sewer Treatment District Fee/Tax to private owneri of
             :                                                                                       I

   developed parcels on each year's property ,tax statement, facially and impermissibly (as

   applied) interfered with the exercise of a fundamental right (i.e., the right of each own~r of an

   undeveloped parcel within the Sewer Treatment District, including each of the Individual
             '                                                                                       '
                                                                                                     I
   Plaintiffs, to be free from a regulatory taking of property without just compensation, ~hich

   is secured by the Fifth Amendment (through the Substantive Due Process Clause of the

   Fourteenth Amendment) to the U.S.       Cons~itution.      As a consequence, a Court must use strict

   scrutiny in determining whether the Equal Protection of the Entity Defendant TOWN law,

   which levies a Sewer Treatment District Fee/Tax against parcel owners within the Sewer
                                                 I



   Treatment District of Entity Defendant TOWN for the "availability of sewer service within

   the district," was denied each owner of an undeveloped parcel within the Sewer Treatment

   District, including each of the Individual Plaintiffs, in violation of the Equal Protection

   Clause, U.S. Const. amend. XIV,§ 1. Moreover, Entity Defendant TOWN cannot

   demonstrate that such recurring, annual levy of a Sewer Treatment District Fee/Tax,

   incorporating a tax classification scheme based upon a tax parcel's status as developed or

   undev~loped,       where the Individual Town Defendants issued a recurring, annual credit in

   the aclount of the Sewer Treatment District Fee/Tax to private owners of developed pkcels
         I                                                                             I

   for eacph of the property tax years 2015-2017, was necessary to promote a compelling

   governmental interest. The interest which was to be promoted was the generation of revenue
         !                                                                                       I
         '                                                                                       '
                                                                                                 I
   for the recurring payment of Entity Defendant TOWN's "debt service for the sewer s~stem"




                                                         30
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    as well as contemporaneous "sewer services provided by the county" from those tax p~cels
                                                                                                     i
    that benefit from the "availability of sewer [treatment] service within the district." Section 6

    of S.L. 2004-96 (as amended by S.L. 2006-54). Furthermore, it was counterproductive to

    have tax parcels within the boundaries of the Sewer Treatment District classified into :

    developed and undeveloped parcels so that the developed parcel owners receive a credit in

    the amount of the Sewer Treatment District Fee/Tax, thereby effectively paying no fey/tax,
                                                                                                 I

    while, at the same time, undeveloped parcel owners receive no credit, thereby effectively

    burdening undeveloped parcel owners with the entire Sewer Treatment District Fee/Tax.

43. In the alternative, a Court uses a rational basis test in determining whether Equal Protection

    of the Entity Defendant TOWN law, which levies a Sewer Treatment District Fee/Tax against

    parcel owners within the Sewer Treatment District of Eµtity Defendant TOWN for the

    "availability of sewer service within the district," was denied each owner of an undeveloped
(
                                                                                                 I
    parcel within the Sewer Treatment Distri¢t, including each of the Individual Plaintiffs, in
                                                                                 (
    violation of the Equal Protection Clause, U.S. Const. amend. XIV,§ 1. Specifically, within

    the context of the Entity Defendant TOWN law, which levied a Sewer Treatment District

    Fee/Tax against parcel owners within the Sewer Treatment District of Entity Defendant

    TOWN for the "availability of sewer service within the district" for each of the property tax

    years 2015-2017, but where the Individual Town Defendants issued a recurring, anriual

    credit:in the amount of the Sewer Treatment District Fee/Tax to private owners of developed
                                                                                             '
    parcels, the disparate effects of such tax classification scheme of Entity Defendant TOWN,

    whic~ is based upon a tax parcel's status as developed or undeveloped, nevertheless l s
    afoul bf the Equal Protection Clause, U.S. Const. amend. XIV,§ 1, since a rational bJsis by
                                              .                                             I
    Entity Defendant Town cannot be found to justify said classification's disparate effects. This




                                                  31
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   is so because the tax classification scheme! of Entity Defendant TOWN for each of the
              .                                    !                                            I
                                                   •                                            I

   property tax years 2015-2017, which is ba~ed upon a tax parcel's status as developed qr

   undeveloped, where the Individual Town: Defendants issued a recurring, annual credit in

   the amount of the Sewer Treatment Distri~t Fee/Tax to private owners of developed parcels

   on each year's property tax statement, facially and impermissibly (as applied) violates      ~our
   sections of the Constitution ofNorth Carolina, including:

   •   the principles under Article Five, SectiOJ.?- 2(2), because the Sewer Treatment District ·

       Fee/Tax facially and impermissibly (as applied) lacks uniformity (i.e., since some siillilarly

       sitl,lated tax parcels are effectively subject to the tax, while others are not);

   •   Article Seven, Section 1 and Article Five, Section 2(1 ), because the Sewer Treatment District

       Fee/Tax facially and impermissibly (as applied) is an unjust and inequitable tax, wherein

       Entity Defendant TOWN has exceeded its taxation authority (e.g., the enabling act allows

       the use of such tax revenues only for the payment of debt service, etc., whereas the

       Individual Town Defendants have used such revenue to issue a credit to owners of .

       developed parcels); and

   •   Article Five, Section 4(3), because the Sewer
                                                I
                                                     Treatment District Fee/Tax facially and

       impermissibly (as applied) authorized the creation of a debt to owners of developed parcels,
                                                   I


       w~erein public   funds were expended for,private purposes, as the Individual Town
                                                                                                I
       Defondants conferred benefits on owners of developed parcels.                            I
44. Fourtrnth Amendment State Action. The acts alleged herein to have been done by lhe

   lndiviClual Town Defendants were done (a) with the power granted by entity Defendant

   TO~ and the State of North Carolina and (b) under the badge of or clothed in their
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                                                                                                I


   authority as officers/employees/agents for Entity Defendant TOWN and therefore constitute




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                                                                                                  I
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   actions of the State within the meaning of;he Fourteenth Amendment to the Constituln of
                                                   .                                              I
   the United States.

45. Color of State Law, Statute, Ordinance,· Regulation, Custom or Usage. The acts alleged

   herein~to have been done by the IndividuaI Town Defendants were done by them under
             '                                  '                                                 '
                                                !

   color of state law, statute, ordinance, regulation, custom or usage.

46. Actual Controversy. There exists an actual controversy between the parties, as set forth

   herein.
                                                ''
47. Intent. The actions of the Individual Town Defendants, as herein described, were

   intentional and willful (or grossly negligent and reckless), with the intent (or effect) of

   depriving each of the undeveloped parcel owners within the Sewer Treatment District,

   including each of the Individual Plaintif~s, of the privileges and immunities secured to
                                               '
                                               I
   him/her by the Constitution of the United States, particularly the right of said person t? a

   guarantee of Equal Protection under the Eµtity Defendant TOWN law, which levies a Sewer

   Treatment District Fee/Tax against parcel owners within the Sewer Treatment District of

   Entity Defendant TOWN for the "availability of sewer service within the district," where

   such right is secured by the Equal   Protect~on      Clause of the Fourteenth Amendment to the

   Constitution of the United States.

48. Causation. The actions of the Individual Town Defendants were the actual and proximate
         :                                                                                    I
   cause 'of the deprivation of the guaranteed right of each of the undeveloped parcel owri.ers
         :                                                                                   I
         ,                                                                                   I
   within the Sewer Treatment District, including each of the Individual Plaintiffs, not to be
         :                                                       .                           I
   depri~ed      of Equal Protection under the entity Defendant TOWN law, which levies a Sewer

   Treatment District Fee/Tax against parcel owners within the Sewer Treatment District of
         I


   Entity Defendant TOWN for the "availability of sewer service within the district," where




                                                       33
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   such right is secured by the Equal Protection Clause of the Fourteenth Amendment to the

        .: · o f t h e Umte
   Constitution          · d States.              :i                                            I


                       Defendants' Continued Conduct and Chilling Effect

49. Each ~fthe undeveloped parcel owners within the Sewer Treatment District, includin~ each

   of the Individual Plaintiffs, is suffering (~d will continue to suffer in the future) irreparable
              :                                   :                                             i
   injury because of the actions of the Individual Town Defendants described herein. Slilch
                                                  I                                             I
                                                  I



   irreparable injury is sourced out of such p6rson's continued deprivation of his/her right not to

   be deprived of Equal Protection under the Entity Defendant TOWN law, which levies a

   Sewer Treatment District Fee/Tax against parcel owners within the Sewer Treatment District
                                                  '

   of Entity Defendant TOWN for the "avail~bility of sewer service within the district," where

   such right is secured by the Equal Protectipn Clause of the Fourteenth Amendment to the

   Constitution of the United States.

50. The actions of the Individual Town Defendants, as herein described, to deprive each of the
                                                                                            I

   undeveloped parcel owners within the Sewer Treatment District, including each ofthei
                                                                                            I
                                              I                                             I


   Individual Plaintiffs, of Equal Protection: will continue, where a substantial loss or
          '                                   '
                                              '
   impairment of such person's right not to be deprived of Equal Protection under the Entity

   Defen~ant TOWN law, which levies a Sewer Treatment District Fee/Tax against parcel
          '                                   '                                             I

          I                                                                                 !
   owners within the Sewer Treatment District of Entity Defendant TOWN for the "availability

   of se.Wer service within the district," has occurred and will continue to occur so long al the
         ,                                                                   ,              I
   actions' of the Individual Town Defendants continue.
                                              '
                                                                                            I
                                                                                            I
                                                                                            I
51. The threat of a deprivation of the guaranteed right of each of the undeveloped parcel olers

   within! the Sewer Treatment District, including each of the Individual Plaintiffs, to E9ual

   Protection under the Entity Defendant TOWN law, which levies a Sewer Treatment District




                                                       34
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   Fee/T~        against parcel owners within the Sewer Treatment District of Entity Defendjt
             I                                                                               I
   TOWN for the "availability of sewer service within the district," continues, where each of

   said persons is in constant fear of receiving another tax statement for his/her undeveloped

   parcel, thereby further depriving each of said persons of his/her guaranteed right to Equal

   Protection under such Entity Defendant TOWN law. As a result, the personal liberties of

   each of the undeveloped parcel owners within the Sewer Treatment District, including each

   of the Individual Plaintiffs, have been (and are) chilled by the actions of the Individual

   Town.Defendants herein described.

52. No Plain, Adequate, and Complete Reniedy. Each of the undeveloped parcel owners
                                                 I




   within the Sewer Treatment District, including each of the Individual Plaintiffs, has no

   plain, ,adequate, and complete remedy to speedily redress the wrongs complained of o~her
         I




   than this cause of action, where any other remedy to which each of said persons could be

   remitted would be (a) attended by such uncertainties and delays as to deny each of said

   persons substantial relief, involve a multitude of suits, and cause each of said persons further

   irreparable injury, damage and inconvenience and (b) inadequate to protect each of said

   persons from the continuing actions of the Individual Town Defendants and the chilling

   effect that such actions have had on the U.S. Constitutional Guarantees of each of said

   persons.




   Protection under the Entity Defendant TOWN law, which levies a Sewer Treatment District




                                                     35
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   Fee/Tax against parcel owners within the Sewer Treatment District of Entity Defendant

   TOWN for the "availability of sewer servlce within the district," in an amount equal    tb
   $10,000,000 of general and special damages.

54. Punit~ve Damages. The Individual Town Defendants' conduct, policies and practic~s and

   their effects, as described herein, demonstrate a specific intent to violate a knowable right of

   each of the undeveloped parcel owners wi~hir the Sewer Treatment District, including each

   of the Individual Plaintiffs, where the violation of such right is so clear at the time of

   deprivation that reasonably competent people would have agreed that given the Individual

   Town· Defendants' conduct, policies and practices and their resulting effects, a violation of

   such persons' constitutional rights would have occurred. Further, the acts of the Individual

   Town: Defendants, as enumerated herein,. were committed with either (a) malice or (b)
         I

   reckle~s   indifference, thereby constituting willful or wanton conduct and accordingly justify
         '

   the a~arding of exemplary or punitive damages in the amount of $5,000,000 to deter similar

   or rep~titious acts by said Defendants.




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            '                                      '
WHERE·FORE, Plaintiffs pray for MONEY; DAMAGES and EQUITABLE RELIEF as

follows:

COUNTS I - MONEY DAMAGES

Judgment, jointly and severally, against each of the Individual TOWN Defendants, as follows:
            ~                                  I                                               I

            I


         for general and special damages in an amount equal to $10,000,000.

         for exemplary or punitive damages in:the amount of $5,000,000 to deter similar ot

repetitious actions by each of said Defendants.'
            '                    .



Judgment against Entity Defendant TOWN, as follows:

         for general and special damages in an·amount equal to $10,000,000.

Judgment against Entity Defendant TOWN and each of the Individual TOWN Defendants, as

follows:
            I
         for reasonable attorney's fees,

         for costs of suit herein incurred,

         for pre- and post-judgment interest, and

         for such other and further relief as the Court deems equitable in the circumstances.

COUNT I - EQUITABLE RELIEF
                                                                                               I
                                                                                               I
   A declaratory judgment that the Sewer Treatment District Fee/Tax [a benefits-based tipc
                                                                                               I
                                                   :                                           II
            I

   establjshed under Entity Defendant TO~ law pursuant to S.L. 2004-96 (as amende? by

   S.L.    2~06-54) for the "availability of sewer service within the district"] as applied by ihe
   Individual Town Defendants to the class of undeveloped parcel owners, including Jch of

   the   ln~ividual Plaintiffs, for property tax years 2015-2017, is confiscatory in nature La
            :                                      .                                           I
            ,                                                                                  I
   thereby a regulatory taldng of property without just compensation in violation of the F;ifth

   (through the Substantive Due Process Clause of the Fourteenth) Amendment to the u.:s.




                                                       37
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                                                                                                 I
                                                                                                 I
                                                                                                 I
    Const~tution,   because, for property tax ye¥s 2015-2017, sewer treatment services, in tp.e
          ,                                     ,                                                I
                                                I                                                !
    present tense, were not available to undev~loped parcels.

    A preliminary and permanent injunction enjoining Entity Defendant TOWN from applying

    the Se~er Treatment District Fee/Tax [a qenefits-based tax established under Entity I
                                                                                                 I

    Defendant TOWN law pursuant to S.L. 2004-96 (as amended by S.L. 2006-54) for the

    "availability of sewer service within the district"] against the class of undeveloped parcel

    owner.s, because, sewer treatment services, in the present tense, are not available to

    undeveloped parcels, and to do otherwise would be confiscatory and thereby a regulatory

    taking of property without just compensation in violation of the Fifth (through the

    Substantive Due Process Clause of the Fourteenth) Amendment to the U.S. Constituti<;:m.

COUNTS II - MONEY DAMAGES

Judgmentl jointly and severally, against each bf the Individual TOWN Defendants, as follows:
          .                                     I

                                                '
              for general and special damages in an amount equal to $10,000,000.

          :for exemplary or punitive damages· in the amount of $5,000,000 to deter similaf or

    repetitious actions by each of said Defendants.

Judgment against Entity Defendant TOWN, as follows:

          :for general and special damages in   an amount equal to $10,000,000.
          ,                                                                                  I

Judgment! against Entity Defendant TOWN and each of the Individual TOWN Defendahts,
          I                                                                                  I

          '
jointly and severally, as follows:

       fof reasonable attorney's fees,

       for costs of suit herein incurred,

       for pre- and post-judgment interest, and

       for such other and further relief as the Court deems equitable in the circumstances.




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COUNT III - EQUITABLE RELIEF                                                                         I


                                                  :                                                  I
  A declaratory judgment that in executing ~ntity Defendant TOWN law pursuant to S.L.

  2004-96 (as amended by S.L. 2006-54)         for property tax years 2015-2017, each of the
  Indiv~dual Town Defendants intentional~y and purposefully conspired to establish (apd, in
            I                                                                                        '
                                                                                                     '
  fact, established) a tax classification scheme, based upon a tax parcel's status as developed or

  undeveloped [where the Individual Town Defendants initially levied a recurring, ~ual
            '                                                                                        I
            '                                                                                        I

  Sewer Treatment District Fee/Tax of $80~.82 against both developed and undeveloped parcel
            i                                    '                                                   '




  owner's within the Sewer Treatment DistriCt, but where said Defendants simultaneously
            ,                                    I                                                   '


  issued a credit in the amount of the recurring, annual Sewer Treatment District Fee/TaX of
                                                 .                                               I
                                                                                                 I
  $803 .82 to private owners of developed parcels on each year's property tax statement l:Jecause

  undeveloped parcel owners paid less in prjor years], that facially and_impermissibly (as
                                                 '                                               '
  applied) deprived the class of undeveloped parcel owners within the Sewer Treatment:
        ;                                                                                        !


  Distri9t, including each of the Individual 'Plaintiffs, of Equal Protection of the law, iQ.

  violation of the Equal Protection Clause, U.S. Const. amend. XIV,§ 1.

  A preliminary and permanent injunction enjoining Entity Defendant TOWN from

  establ~shing      a tax classification scheme, b~sed upon a tax parcel's status as developed   lor
  undev~loped        [where the Individual Town Defendants initially levy a recurring,   ann~al


  Sewer: Treatment District
        '
                                 Fee/Ta~ against.both developed and undeveloped parcel owhers    I

                                                                                                 I
                                                                                                 I
  within the Sewer Treatment District, but where said Defendants simultaneously issue a credit

  . h e [amount
  mt    i       of t h e recumng,
                              .   annua.1 sewer Treatment D"1stnct
                                                               . F eeIT ax to pnvate
                                                                                .      I
                                                                                     own[ers of

  devel!ped parcels on each year's property tax statement because undeveloped parcel oj                  ers

  paid l~ss in prior years], because said tax Classification scheme facially and impermi~sibly

  (as applied) deprives the class of undeveloped parcel owners within the Sewer Treatment




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                                                                                              i


   District of Equal Protection of the law, in violation of the Equal Protection Clause, U.   k.
          ,                                                                                   II
    Const. amend. XIV, § 1.                                                                   '


Dated:·,, June 19, 2018


                                                     ~c~
                                                     HELEN C CASHWELL, TRUSTEE,
                                                     Plaintiff Pro Se

Helen C Cashwell, Trustee
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                                                       ~·/'(.~
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                                    DEMAND FOR JURY


       Each of the Individual Plaintiffs demands a jury trial on all Counts of this CompJaint.

                                                                                         I
                                                                                         I
Dated: June 19, 2018


                                                    ~ed~
                                                    HELEN C CASHWELL, TRUSTEE,
                                                    Plaintiff Pro Se

Helen C Cashwell, Trustee
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                                                     /J~~.~
                                                    BRAD R. JOHNSON, Plaintiff
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                                        VERIFICATION
                                                                                            I

       U*der penalties of perjury, the undersigned certifies that the statements set forth iJ this

instrument are true and correct, except as to matters stated to be on information and belief and as

to such matters the undersigned certifies that he believes the same to be true.

Dated: June 19, 2018


                                                      ~ef1d&<d£
                                                      HELEN C CASHWELL, TRUSTEE,
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